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DOCKET NO.:
PATRICIA KANE MAGUIRE,                                 )
                                                       )
                                Plaintiff,             )      SUPERIOR COURT
                                                       )
        vs.                                            )      JUDICIAL DISTRICT OF
                                                       )
AMERIPRISE FINANCIAL SERVICES, LLC,                    )      STAMFORD/NORWALK
AMPF HOLDING, LLC,                                     )
ANTHONY JOSEPH SALERNO, AND                            )      AT STAMFORD
JAMES J. FLAHERTY JR.                                  )
                                                       )      DECEMBER 27, 2021
                                Defendants.            )
                                                       )


                                             COMPLAINT

       For her Complaint against Defendants Ameriprise Financial Services, LLC (“AFS”),

AMPF Holding, LLC (“AMPF”) (together, “Ameriprise”), Anthony Joseph Salerno (“Salerno”)

(Ameriprise and Salerno collectively the “Ameriprise Defendants”), and James J. Flaherty Jr.

(“Flaherty”) (collectively, “Defendants”), Plaintiff Patricia Kane Maguire (“Ms. Maguire” or

“Plaintiff”), by and through her undersigned counsel, sets forth and alleges as follows:

                                     NATURE OF ACTION

       1.      This case arises out of Defendants’ active participation in, and failure to mitigate,

the financial exploitation of Agnes Patricia Kane (“Mrs. Kane”), who passed away on January 22,

2019 at the age of 85, which caused foreseeable and substantial harm to Plaintiff.

       2.      In the two years preceding Mrs. Kane’s death, a series of fraudulent and coerced

transactions resulted in the theft of substantial sums from Plaintiff by virtue of the wrongful

exclusion of Plaintiff as beneficiary of Mrs. Kane’s estate and as beneficiary of monies held in

various accounts. Defendants actively participated in and/or aided and abetted the fraud by

violating the law and ignoring their various duties, including but not limited to, as to Ameriprise:



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(i) Section 206(4) of the Investment Advisers Act of 1940 (“Advisers Act”) and Rule 206(4)-7

thereunder; and (ii) Section 203(e)(6) of the Advisers Act and Section 15(b)(4) of the Securities

Exchange Act of 1934 (“Exchange Act”), and as to Salerno: (i) Sections 206(1) and 206(2) of the

Advisers Act; (ii) Section 10(b) of the Exchange Act and Rule 10b-5 thereunder, and as to the

Ameriprise Defendants: (i) the Financial Industry Regulatory Authority’s (“FINRA”) Know Your

Customer, Suitability, Senior Exploitation, and Supervision Rules; (ii) FINRA’s Standards of

Commercial Honor and Principles of Trade; and (iii) FINRA’s Books and Records Requirements,

and as to Flaherty, the Rules of Professional Conduct, and as to all Defendants, their fiduciary

duties owed to Mrs. Kane.

       3.       Two separate financial accounts held by Mrs. Kane were fraudulently transferred

to an investment account improperly opened and controlled by Defendants, which fraudulently

and wrongfully designated Plaintiff’s sister, Bernadette Duffy a/k/a Bernadette Kane

(“Bernadette”), as the sole beneficiary. Upon information and belief, Bernadette forged Mrs.

Kane’s signature on documents transferring funds to the investment account, and Defendants

participated in and/or negligently failed to identify the fraud contributing to the exploitation of a

dying mother.

       4.       Accordingly, as set forth below, Plaintiff seeks to recover amounts held in the

investment account at the time of Mrs. Kane’s death, treble damages pursuant to Connecticut

statute, as well as costs, attorneys’ fees and expenses this Court deems appropriate.

                                         THE PARTIES

       5.       Plaintiff is an individual residing at 77 Havemeyer Lane, Unit 210, Stamford,

Connecticut 06902 and the rightful beneficiary and co-executor of Mrs. Kane’s estate. Plaintiff

seeks to recover losses and damages suffered as a result of Defendants' fraudulent and/or negligent




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handling of Mrs. Kane’s Ameriprise “SPS Advantage” account (account number ending in 2133)

(the “Ameriprise Account”).

       6.      AFS, CRD#: 6363/SEC#: 801-28543,8-16791, is a Delaware limited liability

company licensed as a brokerage and investment advisor firm with a principal place of business

located at 707 2nd Avenue South, Minneapolis, Minnesota 55402 which, at all relevant times,

exercised custody over the Ameriprise Account and which is owned and controlled by AMPF.

       7.      AMPF is a Michigan limited liability company and principal shareholder of AFS.

       8.      Salerno, CRD#: 2910121, is a broker and investment advisor with offices located

at 2507 Post Road, Floor 3, Southport, Connecticut 06890, who has been registered with AFS since

1998. Salerno resides at 128 Gerrish Lane, New Canaan, Connecticut 06840.

       9.      Flaherty, Juris No. 411811, is an attorney with Chipman Mazzucco Emerson LLC,

located at 900 Main Street South, Suite 102, Southbury, CT 06488 who served as Mrs. Kane’s

attorney at the time of her death.

                                        JURISDICTION

       10.     Jurisdiction is proper with the Superior Court of the State of Connecticut because:

(i) the Defendants maintain offices in Connecticut; (ii) the Defendants conducted operations in

Connecticut; (iii) Salerno is a resident of Connecticut; (iv) Flaherty is a resident of Connecticut;

(v) Plaintiff is a resident of Connecticut; and (vi) the wrongful conduct at issue occurred in

Connecticut.

       11.     Venue is proper in the Judicial District of Stamford/Norwalk at Stamford because

the Defendants maintain offices and conducted operations in the judicial district.




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                                   FACTUAL ALLEGATIONS

       12.     Mrs. Kane and her husband Daniel had three children: Ms. Maguire, Bernadette

and Danny, who pre-deceased both parents. In 2004, with the guidance of Attorney Scott Hanula,

who had been Mrs. Kane and Daniel’s estate planning attorney for many years, the couple executed

a will (the “2004 Will”), which left their estate to their three children equally.

       13.     After Danny’s unexpected death in 2008 and Daniel’s passing in 2015, Mrs. Kane

executed an updated will on January 20, 2016 (the “2016 Valid Will”). Mrs. Kane left her estate

to her two daughters in equal shares and named both daughters as co-executors. See Exhibit A.

Shortly thereafter, Mrs. Kane relocated from New Jersey to Connecticut.

       14.     Mrs. Kane had two financial accounts with Morgan Stanley: (1) an IRA (account

number ending in 1737) containing approximately $290,000 at the time of Mrs. Kane’s death,

which named both Ms. Maguire and Bernadette as equal beneficiaries by an IRA designation of

beneficiary dated December 1, 2014 (which Bernadette fraudulently forced or convinced Mrs.

Kane to change just four months before Mrs. Kane’s death, naming Bernadette as the sole

beneficiary and Bernadette’s daughter as the sole contingent beneficiary) (the “IRA Account”),

and (2) an investment account (account number ending in 8737) (the “Investment Account”),

which, upon information and belief, also named both sisters as equal beneficiaries.

       15.     Mrs. Kane also maintained an investment account with Merrill Lynch, Pierce,

Fenner & Smith Incorporated (account number ending in 5961) (the “Merrill Account”) containing

approximately $209,257.60 prior to being transferred to Mrs. Kane’s Ameriprise Account, which,

upon information and belief, also named both sisters as equal beneficiaries.

       16.     Upon information and belief, Mrs. Kane was frugal in her financial management.

In her later years, she utilized social security funds and approximately $1,000 per month from her




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IRA Account for living expenses. Her expenses were low, and her monthly rent was approximately

$1,500.

          17.   Mrs. Kane took an interest in her investments, but trusted her investment advisers

to manage her accounts.

          18.   For years, Mrs. Kane (and her husband, prior to his death) worked with Raoul

Mancini (“Mr. Mancini”), an investment adviser with Morgan Stanley. It was Mr. Mancini who

alerted Plaintiff to the possibility of fraud by Defendants and others detailed herein. Mr. Mancini’s

son, Joseph Mancini, has since taken over management of the family practice, the Mancini Group,

at Morgan Stanley.

          19.   After Mrs. Kane’s move to Connecticut, Bernadette convinced her mother to hire

Salerno, Bernadette’s investment adviser, who, upon information and belief, met Mrs. Kane in

November 2016. As a result, Salerno served as investment adviser and fiduciary to both Mrs. Kane

and Bernadette. This conflict of interest allowed Bernadette to collude with Salerno (who, at all

relevant times, acted as an agent of Ameriprise) to effectuate her fraud.

                                   Mrs. Kane’s Estate Planning

          20.   From the time Mrs. Kane executed her 2004 Will, her estate planning remained

remarkably consistent. Mrs. Kane wanted her property to be divided equally amongst her surviving

children, and she consistently named Ms. Maguire and Bernadette as not only beneficiaries, but

also as the co-executors of her estate.

          21.   Upon information and belief, Mrs. Kane had also named Ms. Maguire and

Bernadette as co-beneficiaries of the IRA Account and the Investment Account.

          22.   On or about October 3, 2017, in collusion with Bernadette, Salerno referred Mrs.

Kane to Flaherty, an attorney and close friend of Salerno, to dramatically change Mrs. Kane’s




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estate plan. Mrs. Kane was referred to Flaherty with the intention that Flaherty’s title would

provide legitimacy to future revisions of Mrs. Kane’s will made by Bernadette and Salerno.

       23.     On or about December 5, 2017, as a result of the undue influence imposed upon her

by Bernadette, Salerno and/or Flaherty, Mrs. Kane inexplicably executed an entirely different will

(the “2017 Invalid Will”) prepared by Flaherty that included Bernadette as the sole beneficiary

and executor, and Bernadette’s daughter, Shannon Duffy (“Shannon”) as the contingent

beneficiary. See Exhibit B.

       24.     The 2017 Invalid Will refers to Shannon as “my daughter” despite Shannon being

Mrs. Kane’s granddaughter, evidencing Mrs. Kane’s intentions to bequeath her property to her two

daughters.

       25.     Upon information and belief, the 2017 Invalid Will either (a) included Ms. Maguire

as a beneficiary at the time of execution and was fraudulently revised by Flaherty, Salerno and

Bernadette after Mrs. Kane’s death to designate Bernadette as sole beneficiary and sole executor;

or (b) was executed by Mrs. Kane as a result of undue influence or coercion, with the belief that

Ms. Maguire was included as a beneficiary.

       26.     The fraudulent amendments to the 2017 Invalid Will are evidenced by, among other

things: (i) revisions to the 2016 Valid Will made in Bernadette’s handwriting; (ii) Mrs. Kane’s

falsified initials on the pages that Bernadette amended; (iii) Bernadette’s surname change to

“Kane” at the time Bernadette still used the surname “Duffy”; (iv) Salerno’s dual representation

of Bernadette and Mrs. Kane; (v) the friendship between Salerno and Flaherty and improper

sharing of confidential information between the two; (vi) the fact that it was Salerno who notified

Flaherty of Mrs. Kane’s death and that Bernadette wanted him to settle Mrs. Kane’s estate; and

(vii) Flaherty’s intentional misrepresentations to the Shelton, CT Probate Court (“Probate Court”)




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and Ms. Maguire that Mrs. Kane had no assets subject to probate at the time of her death.

       27.      Ms. Kane’s hand-written notes dated November 21, 2017 (“Specific Bequests”)

(just two weeks before she supposedly executed the 2017 Invalid Will) identify specific items of

jewelry to be left to certain individuals at the time of her death. Of the seven items of jewelry

identified by Mrs. Kane in her handwritten notes, two pieces were bequeathed to Bernadette and

two pieces were bequeathed to Plaintiff (including diamond earrings and an Irish pendent),

reflecting Mrs. Kane’s intent of leaving to her two daughters equally.

       28.      In her Specific Bequests, Mrs. Kane notes that all remaining jewelry was to be

distributed to “whoever.” Upon information and belief, Mrs. Kane intended her surviving family

to distribute her remaining jewelry (valued at approximately $20,000 - $30,000) as mutually

agreed. Upon information and belief, Bernadette and/or her children received all remaining

jewelry.

       29.      For some time prior to her death, Mrs. Kane suffered from significant health issues

that impacted her physical and mental well-being. Her health issues became exacerbated after she

moved to Connecticut. Around this time, with the aid of Flaherty and Salerno, Bernadette tricked

Mrs. Kane into excluding Ms. Maguire from receiving property that Mrs. Kane had intended for

her children when she passed, and/or forged documents to achieve that goal.

       30.      Mrs. Kane was highly susceptible to such influence, due in part to her advanced

age and physical and mental infirmity.

                                    The Fraudulent Opening
                                    of the Ameriprise Account

       31.      After earning Mrs. Kane’s trust in or around late November 2016, Salerno

collaborated with Bernadette by manipulation and/or fraud to wrongfully establish, on behalf of

Mrs. Kane, the Ameriprise Account naming Bernadette as the sole beneficiary.



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       32.    A general intake “New Business Setup Confirmation” form (the “Setup Form”) was

prepared by Salerno. See Exhibit C.

       33.    Defendants were either willfully aware of or willfully ignored red flags in the Setup

Form, including but not limited to: (i) Mrs. Kane’s signature is apparently forged and/or clearly

copied from an outside source; (ii) the account was set up with Moderate/Aggressive Risk

Tolerance with “Growth” as the “First Investment Objective,” despite Mrs. Kane’s investment

profile given her advanced age (over 80 at the time) and lack of investment experience; (iii) the

Setup Form improperly uses Mrs. Kane’s date of birth rather than the date of her supposed (and

forged) signature; and (iv) no required TOD designation was executed.

       34.    A separate time of death designation form, referenced in the Setup Form and

required by industry standards, was never completed. The Setup Form prepared by Ameriprise and

delivered to Mrs. Kane by Salerno references a separate “TOD registration,” which was never

completed. A section entitled “Transfer on Death Account Acknowledgments” states in part:

       I, the owner of the listed account(s) desire to establish a Transfer on Death
       (TOD) designation pursuant to the Minnesota Uniform TOD Security Registration
       Act (the Act). Upon my death (or upon the death of the last survivor of us),
       Ameriprise Financial, Inc., Ameriprise Certificate Company, Ameriprise Financial
       Services, Inc., and American Enterprise Investment Services Inc. (individually or
       collectively "company") shall distribute my account according to the terms and
       conditions of this Agreement, filed at Ameriprise Financial, Inc.'s principal place
       of business in Minneapolis. Minnesota. In consideration of company acceptance
       of my TOD registration, I agree as follows:

       35.    Ameriprise procedures require a separate TOD registration form to be completed.

Contrary to standard practices and references in the Setup Form, a separate TOD registration form

was never delivered to Mrs. Kane. Instead, Defendants purposefully relied upon an inconclusive

mention of Bernadette in the Setup Form as the supposed sole beneficiary of the Ameriprise

Account. Defendants failed to apprise Mrs. Kane of the consequences of such a designation as


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contrary to her long-standing estate plan, which failure was made all the more egregious by

Defendants’ failure to provide Mrs. Kane with the required TOD registration.

       36.     Salerno has a history of deceiving clients. On two separate occasions, unrelated

clients of Salerno have alleged similar misrepresentations or deceit. Notably, on one such

occurrence it was alleged that the signature of Salerno’s client had been forged on an application,

much like the forgery Defendants allowed here.

                                   The Fraudulent Transfers
                                    of Mrs. Kane’s Accounts

       37.     On or about November 30, 2016, the entire balance of the Merrill Account

containing approximately $209,257.60 was fraudulently transferred to the Ameriprise Account,

documented by a transfer form (“Transfer Form”). See Exhibit D.

       38.     Defendants were either willfully aware of, or willfully ignored, red flags in the

Transfer Form, including but not limited to: (i) Ms. Kane’s signature is clearly copied from an

outside source; and (ii) the Transfer Form improperly uses Ms. Kane’s date of birth rather than the

date of her supposed (and forged) signature.

       39.     Despite the obvious evidence of forgery, The Ameriprise Defendants purposefully

proceeded with the filing and transfer of funds.

       40.     On or about February 20, 2018, less than one year before Mrs. Kane’s passing, the

entire balance of the Investment Account containing approximately $70,582.06 was transferred to

the Ameriprise Account pursuant to an “Account Transfer and Direct Rollover” form prepared by

Ameriprise (“Rollover Form”). See Exhibit E.

       41.     Defendants were either willfully aware of, or willfully ignored, red flags in the

Rollover Form, including but not limited to: (i) Ms. Kane’s signature appears to have been forged;




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and (ii) the handwriting on the Rollover Form is patently distinct from that of Mrs. Kane’s typical

writings.

        42.     Approximately four months before Mrs. Kane’s death, as a result of the undue

influence by Bernadette and Defendants, Mrs. Kane supposedly changed the beneficiaries on her

IRA Account to name Bernadette as sole beneficiary with Bernadette’s daughter Shannon Duffy

as the contingent beneficiary.

        43.     At the time of Mrs. Kane’s passing, the Ameriprise Account contained

approximately $301,617.84, half of which rightfully belongs to Ms. Maguire pursuant to the 2016

Valid Will and/or the valid 2014 beneficiary designations on the IRA Account and Investment

Account.

        44.     On or prior to Ms. Kane’s passing on January 22, 2019, despite the red flags and

the lack of a proper beneficiary form, funds in the Ameriprise Account were wrongfully transferred

to Bernadette in violation of numerous FINRA regulations and federal law.

                                      Ameriprise’s Violations
                                 of Federal Law and FINRA Rules

        45.     As an investment adviser and a broker-dealer, Ameriprise has various supervisory

responsibilities under the Exchange Act and Advisers Act. Ameriprise is required by law to

reasonably supervise Salerno to prevent Salerno’s violations of the federal securities law, and is

also required to adopt and implement written compliance policies and procedures to prevent its

advisers (like Salerno) from engaging in fraudulent activity.

        46.     On Ameriprise’s website at the time of this Complaint, “Signs of financial

exploitation” are listed to include: (i) abrupt changes in a will, an account's beneficiaries or other

financial accounts; and (ii) evidence of forgery for financial transactions or for the titles of his/her

possessions or property.



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       47.     Despite Ameriprise’s responsibilities to adopt written policies designed to prevent

violation of the Advisers Act by Salerno and supervise the activities of Salerno pursuant to Rule

206(4)-7 of the Advisers Act, Section 203(e)(6) of the Advisers Act, Section 15(b)(4) of the

Exchange Act, and FINRA Rules 2010 and 3110, at no point did Ameriprise recognize or flag

these transactions despite Salerno’s unethical conduct and facilitation of the fraud alleged herein.

Through their willful failures and participation in the financial exploitation of Mrs. Kane, the

Ameriprise Defendants wrongfully benefitted through service and transaction fees.

       48.     Ameriprise has a history of failing to properly supervise its advisers and allowing

forgery, such as is alleged here. In March 2013, FINRA announced that it would fine Ameriprise

Financial Services, Inc., an affiliate of Ameriprise, $750,000 for failing to have reasonable

supervisory systems in place to monitor wire transfer requests and the transmittal of customer

funds to third-party accounts. An agent of Ameriprise had converted approximately $790,000 from

two customers over a four-year period by forging their signatures on wire transfer requests and

disbursing the funds to bank accounts she controlled.

       49.     In September 2016, FINRA announced that it would fine Ameriprise $850,000 for

failing to detect the conversion of more than $370,000 from five customer brokerage accounts by

one of its registered representatives. The conversion went undetected for two years because

Ameriprise failed to establish and enforce a supervisory system reasonably designed to adequately

monitor the transmittal of funds from customer accounts to third parties, including those controlled

by registered representatives of the firm.

       50.     In August 2018, the Securities and Exchange Commission (“SEC”) ordered

Ameriprise to pay $4.5 million to settle charges that it had failed to safeguard investor assets from




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theft by its representatives, investment advisors like Salerno. Those charges involved forging client

documents, as alleged here.

       51.     In Salerno’s dealings with Mrs. Kane and at all times discussed, and relevant to the

claims asserted herein, Salerno acted within the scope of his authority as an agent of Ameriprise.

                            Evidence of Collusion and Defendants’
                         Fraudulent Concealment of Their Wrongdoing

       52.     Upon Mrs. Kane’s passing on January 22, 2019, Plaintiff contacted Bernadette to

coordinate the settlement of the estate, as Plaintiff and Bernadette were co-executors under the

2016 Valid Will. It was at that time that Bernadette informed Plaintiff that the estate had already

been settled and that no property remained undistributed.

       53.     Bernadette told Plaintiff, upon their mother’s death, that a new will had purportedly

been prepared by Flaherty and executed on December 5, 2017, supposedly naming Bernadette as

the sole beneficiary and the sole executor of the estate, and supposedly naming another “daughter”

(Shannon Duffy, who is Bernadette’s daughter) as the contingent beneficiary. Plaintiff also learned

at that time that Bernadette had destroyed Mrs. Kane’s files, including but not limited to the 2016

Valid Will.

       54.     Reflective of Defendants’ wrongdoing and collusion, on February 4, 2019, Salerno

emailed Flaherty that Mrs. Kane had passed and forwarded the death certificate to Flaherty.

Salerno told Flaherty that Bernadette wanted Flaherty to settle Mrs. Kane’s estate.

       55.     On February 11, 2019, Salerno and Flaherty again exchanged emails wherein

Salerno wrote to Flaherty that Mrs. Kane “had an IRA that Bernadette was the sole beneficiary of

value $290K.” There was no reason for Salerno to know of Mrs. Kane’s IRA Account held at

Morgan Stanley, and no reason for Salerno to know that the beneficiary form on that account had

just been (fraudulently) changed five months earlier.



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       56.     Flaherty responded to Salerno on February 11, 2019: “Looks like everything had a

beneficiary or joint owner then. We should be able to avoid probate all together. Thanks Doctor!”

Salerno responded back “great.”

       57.     In   February 2019, Plaintiff contacted both Flaherty and Salerno for more

information pertaining to Mrs. Kane’s estate.

       58.     Salerno told Plaintiff that she would never receive any information about the

Ameriprise Account, that the funds in the Ameriprise Account had already been transferred to

Bernadette, and that the records relating to the Ameriprise Account were “gone.”

       59.     Flaherty told Plaintiff that Mrs. Kane “had no money” when she died. When

Plaintiff asked Flaherty about the Investment Account, Flaherty asked Plaintiff: “how do you know

about that?” Flaherty thereafter became reluctant to provide information to Plaintiff, providing a

copy of the 2017 Invalid Will to her only weeks later.

       60.     The fact that both Flaherty and Salerno knew by February 2019 of Plaintiff’s

concerns regarding the estate makes their actions thereafter all the more fraudulent.

       61.     On March 15, 2019, knowing of Plaintiff’s objections to the 2017 Invalid Will and

knowing that Plaintiff had questioned the creation of and distributions from the Ameriprise

Account, and presumably with knowledge of Mrs. Kane’s handwritten notes regarding her jewelry,

Flaherty fraudulently filed the 2017 Invalid Will with the Probate Court and, upon information and

belief, misrepresented to the court that “there are no assets to be administered.”

       62.     Flaherty later admitted to Plaintiff that he did not look at the beneficiary forms

before he delivered them to the Probate Court.

       63.     On April 4, 2019, Salerno emailed the Setup Form to Flaherty and wrote:

       Give me give me give me.




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        The only thing I see is that she put her Date of Birth instead of the date she signed.
        If you look at when I signed and dated was the same day she signed. Not sure if
        that will create an issue.

Flaherty responded back to Salerno the following: “Lol. I know. I’m so friggin demanding! Thanks

pal.”

        64.    Although Plaintiff had asked Defendants for information since February 2019, it

was not until April 5, 2019 that Flaherty emailed the Ameriprise Setup Form to Plaintiff.

        65.    On August 9, 2019, Flaherty emailed to Salerno: “Hey Doctor, Can I get a print out

of the holdings in Agnes Kane’s accounts, as of the date of her death (1/22/19)?” and Salerno

responded back to Flaherty: “Doctor when I go to run the report on 1/22/19 it shows up as 0. If I

run it on the 21st see attached report. I can call home office to find out how to get it for the 22nd

on Monday.” Flaherty responded back to Salerno: “LOL. No worries. I’m certain this should be

fine. Thanks Doctor!”

        66.    After being made aware of the Ameriprise Account and subsequent transfers,

Plaintiff contacted Mr. Mancini, who alerted Plaintiff to the potential fraud effectuated by

Defendants and Bernadette.

        67.    In August 2019, Plaintiff contacted the Fairfield Police Department to discuss the

seemingly fraudulent activities of Defendants. Officer Lisa Burbidge contacted Ameriprise and

reported back to Plaintiff that Lila Reiling, Legal Service Expert for Ameriprise (“Ms. Reiling”)

had informed her that documents relating to the Ameriprise Account had been shredded or

destroyed shortly after Mrs. Kane’s death.

        68.    The Ameriprise Defendants’ destruction of the Ameriprise Account documents was

willful, in violation of applicable FINRA regulations, and fraudulently concealed Defendant’s

wrongdoing.




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       69.     Upon information and belief, Bernadette colluded with Flaherty and Salerno to: (i)

doctor the Setup Form, Transfer Form and Rollover Form in order to transfer funds belonging to

Plaintiff into the Ameriprise Account: (ii) fraudulently replace or amend the 2016 Valid Will; and

(iii) force or convince Mrs. Kane to replace Plaintiff as a beneficiary of the IRA Account. Upon

information and belief, at no point did Ameriprise recognize or flag these transactions despite

Salerno’s clear unethical conduct and circumvention of Ameriprise’s policies.

                                     CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION
                       Statutory Theft pursuant to Conn. Gen. Stat. §52-564
                               (against the Ameriprise Defendants)

       70.     The Plaintiff repeats and realleges each and every allegation in the foregoing

paragraphs with the same force and effect as if fully set forth herein.

       71.     The Ameriprise Defendants, with the intent to deprive Plaintiff of her property

and/or to appropriate same to Bernadette, wrongfully took, obtained and/or withheld money from

Plaintiff under false pretenses, in violation of Conn. Gen. Stat. § 53-564, which provides that

“[a]ny person who steals any property of another, or knowingly receives and conceals stolen

property, shall pay the owner treble his damages.”

       72.     As Mrs. Kane’s personal investment adviser, the Ameriprise Defendants exercised

control over funds in the Ameriprise Account.

       73.     The Ameriprise Defendants were actively involved with the theft from Plaintiff by

virtue of their (i) preparation and filing of the falsified Setup Form and Transfer Form; (ii) filing

of the falsified Rollover Form; (iii) failure to provide a beneficiary designation form to Mrs. Kane;

(iv) referral of Mrs. Kane to Salerno’s friend Flaherty to fraudulently effectuate dramatic changes

to Mrs. Kane’s estate plan; (v) notification to Flaherty of Mrs. Kane’s death; (vi) recognition that




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the Setup Form was not correct; (vii) advising Bernadette to influence Mrs. Kane to change the

beneficiary of the IRA Account; (viii) immediate transfer of funds in the Ameriprise Account to

Bernadette on the date of Mrs. Kane’s death, without a beneficiary designation form; and (ix)

fraudulent concealment of their theft by intentionally and wrongfully destroying documentation

relating to the Ameriprise Account.

         74.   The Ameriprise Defendants’ wrongful and intentional actions were intended to

deprive Plaintiff of property to which Plaintiff is rightfully entitled, for the unlawful purpose of

appropriating such property to Bernadette, and were knowingly concealed from Plaintiff.

         75.   As a result of the Ameriprise Defendants’ actions, property that should have

remained in Mrs. Kane’s estate and transferred to Plaintiff at the time of Mrs. Kane’s passing

through probate, and/or property in the Investment Account, IRA Account, and/or Merrill Account

that should have transferred to Plaintiff at the time of Mrs. Kane’s passing, was stolen from

Plaintiff and unlawfully appropriated to Bernadette.

         76.   Accordingly, Ms. Maguire has been damaged in an amount to be determined at

trial.

         77.   At the time of Mrs. Kane’s death, the Ameriprise Account contained approximately

$301,617.84, half of which rightfully belongs to Ms. Maguire.

         78.   At the time of Mrs. Kane’s death, the IRA Account contained approximately

$290,000.00, half of which rightfully belongs to Ms. Maguire.

         79.   Pursuant to Conn. Gen. Stat § 52-564, the Ameriprise Defendants must pay to Ms.

Maguire treble her damages, an amount of at least $887,426.76, the precise amount to be

determined at trial.




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                                 SECOND CAUSE OF ACTION
                                Conspiracy to Commit Statutory Theft
                                      (against all Defendants)

        80.     The Plaintiff repeats and realleges each and every allegation in the foregoing

paragraphs with the same force and effect as if fully set forth herein.

        81.     The Defendants conspired with one another and/or Bernadette to deprive Plaintiff

of her property and/or to appropriate same to Bernadette under false pretenses, in violation of

Conn. Gen. Stat. § 53-564, which conspiracy was furthered by (i) forgery or coercion in the

execution of the Setup Form and Transfer Form; (ii) failing to provide Mrs. Kane with a required

TOD registration form; (iii) failing to place a hold on Mrs. Kane’s account notwithstanding highly

suspicious activity; (iv) colluding with Flaherty to falsify the 2017 Invalid Will; (v) fraudulently

selling securities and distributing the funds to Bernadette shortly after Mrs. Kane’s death without

a TOD registration having been completed by Mrs. Kane and without placing a hold on Mrs.

Kane’s account due to suspicious activity; and (vi) actively concealing the conspiracy by refusing

to provide Plaintiff, the rightful co-executor of Mrs. Kane’s estate and the rightful beneficiary of

monies held by Defendants, with requested documents and information and/or destroying

documents.

        82.     The Defendants acted with the intent to deprive Plaintiff of monetary amounts to

which the Plaintiff is rightfully entitled.

        83.     The Defendants committed overt acts in furtherance of their conspiracy, including

but not limited to: (i) filing/accepting the forged and incorrect Setup Form and forged and incorrect

Transfer Form; (ii) filing the falsified Rollover Form; (iii) failing to provide Mrs. Kane with a

required beneficiary designation form; (iv) referring Mrs. Kane to Salerno’s friend Flaherty to

fraudulently effectuate dramatic changes to Mrs. Kane’s estate plan; (v) failing to place a hold on




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Mrs. Kane’s account notwithstanding highly irregular and suspicious activity; (vi) falsifying the

2017 Invalid Will; (vii) fraudulently selling securities and distributing the funds to Bernadette

upon Mrs. Kane’s death without a beneficiary designation form having been completed by Mrs.

Kane; (viii) advising Bernadette to influence Mrs. Kane to change the beneficiary of the IRA

Account; (ix) making misrepresentations to the Probate Court regarding the validity of the 2017

Invalid Will and the estate assets; (x) refusing to provide information to Plaintiff as the rightful

co-executor of Mrs. Kane’s estate and co-beneficiary of the monies misappropriated from Plaintiff;

and (xi) destroying documentary evidence of Defendants’ wrongdoing.

         84.   As a result, property that should have remained in Mrs. Kane’s estate and/or the

Investment Account and/or the Merrill Account and/or the IRA Account and transferred to Plaintiff

at the time of Mrs. Kane’s passing, was transferred to either directly to Bernadette or to the

Ameriprise Account that wrongfully designated Bernadette as the sole beneficiary.

         85.   Accordingly, Ms. Maguire has been damaged in an amount to be determined at

trial.

         86.   As a result of Defendants’ conspiracy to commit statutory theft, Ms. Maguire has

been deprived of monetary amounts to which she is rightfully entitled.

                                 THIRD CAUSE OF ACTION
                                Aiding and Abetting Statutory Theft
                                     (against All Defendants)

         87.   The Plaintiff repeats and realleges each and every allegation in the foregoing

paragraphs with the same force and effect as if fully set forth herein.

         88.   The Defendants aided and abetted Bernadette’s statutory theft.

         89.   The Defendants knew or should have known that Bernadette was committing

statutory theft against Ms. Maguire.




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       90.     The Defendants knew or should have known that the actions of Bernadette would

amount to theft of Ms. Maguire’s property.

       91.     The Defendants knowingly provided substantial assistance to Bernadette in her

theft against Ms. Maguire by: (i) filing/accepting the forged and incorrect Setup Form and forged

and incorrect Transfer Form; (ii) filing the falsified Rollover Form; (iii) failing to provide Mrs.

Kane with a required beneficiary designation form; (iv) referring Mrs. Kane to Salerno’s friend

Flaherty to fraudulently effectuate dramatic changes to Mrs. Kane’s estate plan; (v) failing to place

a hold on Mrs. Kane’s account notwithstanding highly irregular and suspicious activity; (vi)

falsifying the 2017 Invalid Will; (vii) fraudulently selling securities and distributing the funds to

Bernadette upon Mrs. Kane’s death without a beneficiary designation form having been completed

by Mrs. Kane; (viii) advising Bernadette to influence Mrs. Kane to change the beneficiary of the

IRA Account; (ix) making misrepresentations to the Probate Court regarding the validity of the

2017 Invalid Will and the estate assets; (x) refusing to provide information to Plaintiff as the

rightful co-executor of Mrs. Kane’s estate and co-beneficiary of the monies misappropriated from

Plaintiff; and (xi) destroying documentary evidence of Defendants’ wrongdoing.

       92.     As a result of Defendants’ aiding and abetting Bernadette’s theft, Ms. Maguire has

been deprived of monetary amounts to which she is rightfully entitled, and is entitled to treble her

damages and/or punitive damages in an amount to be determined at trial.

                               FOURTH CAUSE OF ACTION
                          Forgery pursuant to Conn. Gen. Stat. § 52-565
                                    (against all Defendants)

       93.     The Plaintiff repeats and realleges each and every allegation in the foregoing

paragraphs with the same force and effect as if fully set forth herein.




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       94.       Under Connecticut's civil forgery statute, “any person who falsely makes,

alters, forges or counterfeits any document, or knowingly utters, as true, any document falsely

made, altered, forged or counterfeited, shall pay double damages to any party injured

thereby.” Conn. Gen. Stat. § 52-565.

       95.       The Setup Form contained a forged or counterfeited signature.

       96.       The Transfer Form contained a forged or counterfeited signature.

       97.       The Rollover Form contained falsified information.

       98.       The 2017 Invalid Will contains falsified revisions.

       99.       The Ameriprise Defendants intentionally prepared and filed the forged Setup Form

and Transfer Form for the purpose of appropriating to Bernadette amounts held in the Ameriprise

Account and Merrill Account.

       100.      The Ameriprise Defendants intentionally filed the falsified Rollover Form for the

purpose of appropriating amounts held in the Investment Account to Bernadette.

       101.      Flaherty prepared the 2017 Invalid Will and filed the 2017 Invalid Will with the

Probate Court.

       102.      Defendants knowingly uttered as true the IRA Designation of Beneficiary Form for

the IRA Account which was falsely made, altered, forged or counterfeited just a few months before

Mrs. Kane’s death.

       103.      At the time of Mrs. Kane’s death, the Ameriprise Account contained approximately

$301,617.84, half of which rightfully belongs to Ms. Maguire.

       104.      At the time of Mrs. Kane’s death, the IRA Account contained approximately

$290,000.00, half of which rightfully belongs to Ms. Maguire.




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       105.    Plaintiff was injured by the forgery in an amount of at least $295,808.92, the precise

amount to be determined at trial.

       106.    Pursuant to Conn. Gen. Stat § 52-565, Defendants must pay to the Plaintiff double

her damages, an amount equal to at least $591,617.84, the precise amount to be determined at trial.

                                    FIFTH CAUSE OF ACTION
                                    Conspiracy to Commit Forgery
                                       (against All Defendants)

       107.    The Plaintiff repeats and realleges each and every allegation in the foregoing

paragraphs with the same force and effect as if fully set forth herein.

       108.    The Defendants conspired with one another and/or Bernadette to commit forgery

in violation of Conn. Gen. Stat. § 52-565, which conspiracy was furthered and/or actively

concealed by the following overt acts and concealment: (i) filing/accepting the forged and incorrect

Setup Form and forged and incorrect Transfer Form; (ii) filing the falsified Rollover Form; (iii)

failing to provide Mrs. Kane with a required beneficiary designation form; (iv) referring Mrs. Kane

to Salerno’s friend Flaherty to fraudulently effectuate dramatic changes to Mrs. Kane’s estate plan;

(v) failing to place a hold on Mrs. Kane’s account notwithstanding highly irregular and suspicious

activity; (vi) falsifying the 2017 Invalid Will; (vii) fraudulently selling securities and distributing

the funds to Bernadette upon Mrs. Kane’s death without a beneficiary designation form having

been completed by Mrs. Kane; (viii) advising Bernadette to influence Mrs. Kane to change the

beneficiary of the IRA Account; (ix) making misrepresentations to the Probate Court regarding the

validity of the 2017 Invalid Will and the estate assets; (x) refusing to provide information to

Plaintiff as the rightful co-executor of Mrs. Kane’s estate and co-beneficiary of the monies

misappropriated from Plaintiff; and (xi) destroying documentary evidence of Defendants’

wrongdoing.




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       109.    Defendants committed overt acts in furtherance of their conspiracy, including but

not limited to: (i) filing/accepting the forged and incorrect Setup Form and forged and incorrect

Transfer Form; (ii) filing the falsified Rollover Form; (iii) failing to provide Mrs. Kane with a

required beneficiary designation form; (iv) referring Mrs. Kane to Salerno’s friend Flaherty to

fraudulently effectuate dramatic changes to Mrs. Kane’s estate plan; (v) failing to place a hold on

Mrs. Kane’s account notwithstanding highly irregular and suspicious activity; (vi) falsifying the

2017 Invalid Will; (vii) fraudulently selling securities and distributing the funds to Bernadette

upon Mrs. Kane’s death without a beneficiary designation form having been completed by Mrs.

Kane; (viii) advising Bernadette to influence Mrs. Kane to change the beneficiary of the IRA

Account; (ix) making misrepresentations to the Probate Court regarding the validity of the 2017

Invalid Will and the estate assets; (x) refusing to provide information to Plaintiff as the rightful

co-executor of Mrs. Kane’s estate and co-beneficiary of the monies misappropriated from Plaintiff;

and (xi) destroying documentary evidence of Defendants’ wrongdoing.

       110.    Defendants acted with the intent of committing forgery, and Defendants’

conspiracy did in fact result in forgery.

       111.    As a result of Defendants’ conspiracy to commit forgery, Ms. Maguire has been

injured in an amount of at least $295,808.92, the precise amount to be determined at trial.

       112.    Pursuant to Conn. Gen. Stat § 52-565, Defendants must pay to Ms. Maguire double

her damages, an amount equal to at least $591,617.84, the precise amount to be determined at trial.

                                  SIXTH CAUSE OF ACTION
                                   Aiding and Abetting Forgery
                                     (against All Defendants)

       113.    The Plaintiff repeats and realleges each and every allegation in the foregoing

paragraphs with the same force and effect as if fully set forth herein.




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       114.    The Setup Form and Transfer Form were forged by Bernadette in violation of Conn.

Gen. Stat. § 52-565.

       115.    The transfer of beneficiary of the IRA Account after 2014 was the result of forgery

or coercion facilitated by Defendants.

       116.    Defendants knowingly aided and abetted Bernadette’s forgery and provided

substantial assistance to Bernadette’s forgery by: (i) filing/accepting the forged and incorrect Setup

Form and forged and incorrect Transfer Form; (ii) filing the falsified Rollover Form; (iii) failing

to provide Mrs. Kane with a required beneficiary designation form; (iv) referring Mrs. Kane to

Salerno’s friend Flaherty to fraudulently effectuate dramatic changes to Mrs. Kane’s estate plan;

(v) failing to place a hold on Mrs. Kane’s account notwithstanding highly irregular and suspicious

activity; (vi) falsifying the 2017 Invalid Will; (vii) fraudulently selling securities and distributing

the funds to Bernadette upon Mrs. Kane’s death without a beneficiary designation form having

been completed by Mrs. Kane; (viii) advising Bernadette to influence Mrs. Kane to change the

beneficiary of the IRA Account; (ix) making misrepresentations to the Probate Court regarding the

validity of the 2017 Invalid Will and the estate assets; (x) refusing to provide information to

Plaintiff as the rightful co-executor of Mrs. Kane’s estate and co-beneficiary of the monies

misappropriated from Plaintiff; and (xi) destroying documentary evidence of Defendants’

wrongdoing.

       117.    As a result of Defendants’ aiding and abetting Bernadette’s forgery Ms. Maguire

has been injured in an amount of at least $295,808.92, the precise amount to be determined at trial..




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                                 SEVENTH CAUSE OF ACTION
                                             Fraud
                                    (against All Defendants)

       118.       The Plaintiff repeats and realleges each and every allegation in the foregoing

paragraphs with the same force and effect as if fully set forth herein.

       119.       Defendants defrauded Plaintiff by making fraudulent misrepresentations to Mrs.

Kane and fraudulent misrepresentations to Plaintiff, and by fraudulently concealing their actions

from Plaintiff.

       120.       Beginning on or about November 22, 2016, upon preparing and filing the Setup

Form and until the transfer to Bernadette of funds held in the Ameriprise Account, The Ameriprise

Defendants knowingly and intentionally made material false representations to Mrs. Kane that she

had correctly executed the Setup Form, Transfer Form and Rollover Form and that Mrs. Kane’s

daughters were co-beneficiaries under the Ameriprise Account.

       121.       Defendants knew, or should have known by virtue of Mrs. Kane’s representations,

her 2014 beneficiary designations and the 2016 Valid Will, that Mrs. Kane intended, upon her

death, for Plaintiff to receive funds as a co-beneficiary under the Ameriprise Account, the IRA

Account and/or the 2016 Valid Will.

       122.       Defendants intended for Mrs. Kane to rely on their misrepresentations, and Mrs.

Kane did so rely, by virtue of Defendants’ status as Mrs. Kane’s personal investment adviser and

attorney, respectively.

       123.       Despite their fiduciary duties owed to Mrs. Kane and to Ms. Maguire as Mrs.

Kane’s rightful co-executor and rightful co-beneficiary, Defendants fraudulently concealed their

unlawful wrongdoing from Plaintiff and the Probate Court. Defendants also improperly and

illegally destroyed documents to conceal their fraudulent activity.




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          124.   Defendants made numerous fraudulent misrepresentations to Plaintiff that there

were no assets in Mrs. Kane’s estate, that the 2017 Invalid Will was valid, and that the Setup Form,

Transfer Form were valid, and that Plaintiff was not a beneficiary of the IRA Account.

          125.   Plaintiff relied on Defendants’ misrepresentations by attempting to obtain

documents on her own, attempting to obtain information on her own, obtaining counsel to obtain

documents and information, delaying the commencement of this action, and commencing this

action.

          126.   As a direct and proximate result of Defendants’ fraudulent actions, Ms. Maguire,

as rightful beneficiary of Mrs. Kane’s estate and/or of Mrs. Kane’s investment accounts, has and

continues to suffer damages in an amount no less than $295,808.92, said damages to be proven at

trial.

                                 EIGHTH CAUSE OF ACTION
            Violation of Racketeer Influenced and Corrupt Organizations Act (“RICO”)
                                      (against all Defendants)

          127.   The Plaintiff repeats and realleges each and every allegation in the foregoing

paragraphs with the same force and effect as if fully set forth herein.

          128.   Defendants’ conduct constitutes racketeering as set forth in 18 U.S.C. § 1962(c).

Specifically, “racketeering” has been defined to include wire fraud, or committing fraud by means

of electronic transmissions. 18 U.S.C. § 1961. Defendants engaged in multiple instances of wire

fraud or fraud by means of electronic transmissions through the filing/acceptance of documents

containing fraudulent signatures to form and fund the Ameriprise Account, through the unlawful

disbursement of funds from the Ameriprise Account to Bernadette, and through misrepresentations

made to Plaintiff and to the Probate Court.




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        129.    As detailed below, Plaintiff alleges three different causes of action for federal RICO

violations. In summary: (i) Section 1962(c) provides relief against parties who engage in a pattern

of racketeering activity; (ii) Section 1962(a) provides relief against parties who use income

generated through a pattern of racketeering activity; and (iii) Section 1962(d) provides relief

against those who conspire to violate the racketeering laws. Defendants are liable under each of

these three sections of the statute.

        130.    Each Respondent, at all relevant times, is and has been a “person” within the

meaning of 18 U.S.C. § 1961(3) because each Defendant is capable of holding, and does hold, “a

legal or beneficial interest in property.”

        131.    Defendants’ activities include at least ten acts of racketeering activity from 2016

through 2019. Accordingly, Defendants’ conduct constitutes a “pattern” of racketeering activity.

18 U.S.C. § 1961(5).

        132.    One such act took place on or about November 22, 2016 when Defendants, in

furtherance of the activities, purpose and scheme, falsely and fraudulently prepared and filed the

Setup Form using interstate wires and/or electronic transmissions.

        133.    Beginning on or around October 21, 2016 and continuing through the transfer to

Bernadette of funds held in Mrs. Kane’s Ameriprise Account, each Respondent conducted and

participated in the affairs of an enterprise through a pattern of racketeering activity, in violation of

18 U.S.C. § 1962(c).

        134.    On or about November 30, 2016, Defendants, in furtherance of the activities,

purpose and scheme, falsely and fraudulently prepared and filed the Transfer Form using interstate

wires and/or electronic transmissions.

        135.    On or about October 3, 2017, Salerno (then both Bernadette’s and Mrs. Kane’s




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investment advisor) referred Mrs. Kane to his Salerno’s friend Flaherty to effect the fraudulent

changes in Mrs. Kane’s will.

       136.    On or about December 5, 2017, in furtherance of the activities, purpose and scheme,

Flaherty falsely and fraudulently prepared the Invalid Will.

       137.    On or about February 20, 2018, Defendants, in furtherance of the activities, purpose

and scheme, falsely and fraudulently prepared and filed the Rollover Form using interstate wires

and/or electronic transmissions.

       138.    On or about January 22, 2019, Defendants, in furtherance of the activities, purpose

and scheme, falsely and fraudulently transferred the balance of Mrs. Kane’s account to Bernadette,

on the date of Mrs. Kane’s death and without any proper TOD form having been completed by

Mrs. Kane, using interstate wires and/or electronic transmissions.

       139.    On or about February 4, 2019, Salerno, in furtherance of the activities, purpose and

scheme, used interstate wires and/or electronic transmissions to inform Flaherty that Mrs. Kane

had passed and that Bernadette wanted Flaherty to settle Mrs. Kane’s estate.

       140.    On February 11, 2019, in furtherance of Defendants’ scheme, Salerno and Flaherty

used interstate wires and/or electronic transmissions to communicate and conclude that they could

“avoid probate all together.”

       141.    On March 15, 2019, in furtherance of Defendants’ scheme, knowing of Plaintiff’s

objections to the 2017 Invalid Will and knowing that Plaintiff had questioned the creation of and

distributions from the Ameriprise Account, Flaherty fraudulently filed the 2017 Invalid Will with

the Probate Court and, upon information and belief, misrepresented to the court that “there are no

assets to be administered.”

       142.    On April 4, 2019, in furtherance of Defendants’ scheme, Salerno and Flaherty used




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interstate wires and/or electronic transmissions to communicate regarding a deficiency in the Setup

Form.

        143.   At all times discussed herein, Defendants were involved in a plan to scheme or

defraud; had the intent to defraud and willfully participated in the scheme to defraud with actual

knowledge of its fraudulent nature and with specific intent to defraud; and could have reasonably

foreseen that interstate wires would be used; and actually used interstate wires to further

Defendants’ scheme.

        144.   On or about January 22, 2019, Defendants, in furtherance of the activities, purpose

and scheme, falsely and fraudulently disbursed funds from the Ameriprise Account to Bernadette

using interstate wires and/or electronic transmissions.

        145.   On or about February 22, 2019, Defendants, in furtherance of the activities, purpose

and scheme, using interstate wires and/or electronic transmissions, refused to provide any

information to Plaintiff about her mother’s account and told Plaintiff that she would “never” get

any information about the account and that the funds held under Mrs. Kane’s account had already

been transferred to Bernadette.

        146.   To achieve their common goals, Defendants knowingly and willfully concealed

from the public and Plaintiff the unlawfulness of their conduct.

        147.   As a direct and proximate consequence of the conduct of Defendants and each of

them as alleged herein, Ms. Maguire has been injured, causing Ms. Maguire to suffer monetary

damages in an amount not less than $295,808.92, said damages to be proven at trial.

        148.   18 U.S.C. § 1964(c) allows “any person injured in his business or property by

reason of a violation of section 1962 of this chapter” to “recover threefold the damages he sustains

and the cost of the suit, including a reasonable attorney’s fee ….”




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       149.    Because of Defendants’ violations of 18 U.S.C. § 1962(c), Defendants are liable to

Ms. Maguire for three times the damages Plaintiff has sustained, plus the cost of this suit, including

reasonable attorneys’ fees, an amount equal to no less than $887,426.76.

                                 NINTH CAUSE OF ACTION
                 Violation of Connecticut Unfair Trade Practices Act ("CUTPA'')
                                    (against all Defendants)

       150.       The Plaintiff repeats and realleges each and every allegation in the foregoing

paragraphs with the same force and effect as if fully set forth herein.

       151.       The Defendants’ following actions, among others, are unfair and oppressive and

violate the public policy against unfair and deceptive business practices.

       152.       The following actions of the Ameriprise Defendants, among others, are unfair

and oppressive and violate the public policy against unfair and deceptive business practices: (i)

conspiring with Bernadette to forge Mrs. Kane’s signature and/or deceive Mrs. Kane in connection

with the establishment and funding of the Ameriprise Account; (ii) conspiring with Bernadette to

forge Mrs. Kane’s signature and/or deceive Mrs. Kane in connection with the designation of

Bernadette as the sole beneficiary of the Ameriprise Account, the IRA Account, and the 2017

Invalid Will; (iii) failing to inform Mrs. Kane of the conflict of interest arising from Salerno’s dual

representation of Mrs. Kane and Bernadette; (iv) failing to include a separate beneficiary

designation form in the initial setup process for the establishment of the Ameriprise Account; (v)

referring Mrs. Kane to Flaherty and falsifying and/or forging the 2017 Invalid Will; (vi) failing to

supervise Salerno in violation of Section 206(4) of the Advisers Act and Rule 206(4)-7 thereunder,

and Section 203(e)(6) of the Advisers Act and Section 15(b)(4) of the Exchange Act; (vii)

violations of numerous FINRA Rules; (viii) violation of Section 80b-6 of the Advisers Act through




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engaging in practices that operate as a fraud or deceit upon a client; (ix) purposefully destroying

records relating to customer account ledgers; (x) violation of FINRA Rule 2090 in connection with

their failure to use reasonable diligence to know and retain the essential facts concerning Mrs.

Kane (including her advanced age of 82, her risk tolerance, her need for liquidity, her time horizon,

and her estate planning, which included leaving her assets to each of her daughters equally, and

the red flags raised by the Setup Form), in order to effectively service the account and comply with

applicable laws, regulations and rules; (xi) violation of FINRA Rule 2111 in connection with their

failure to adequately consider Mrs. Kane’s individual financial situation and needs by

recommending an aggressive investment strategy for an 82-year-old woman (in 2016 when the

Ameriprise Account was established) with limited assets and limited investment experience; (xii)

violation of FINRA Rule 2020 by colluding with Bernadette to fraudulently induce Mrs. Kane to

establish the Ameriprise Account naming Bernadette as its sole beneficiary, by fraudulently failing

to provide Mrs. Kane with a required beneficiary designation form, and by fraudulently selling

securities and distributing the funds to Bernadette immediately upon Mrs. Kane’s death without a

beneficiary registration form having been completed by Mrs. Kane; (xiii) various violations of

FINRA Rule 2010 by: (a) failing to monitor the activities of Salerno; (b) failing to ensure

procedures were adhered to that are designed to prevent the very exploitation of customers that

occurred here; (c) failing to ensure that the designation of beneficiaries was understood by Mrs.

Kane and confirmed by a TOD registration; (d) accepting clearly fraudulent and deficient

documentation to establish and fund Mrs. Kane’s Ameriprise Account; (e) distributing funds held

in the Ameriprise Account to Bernadette without any hold placed on the disbursement of funds;

and (f) referring Mrs. Kane to Salerno’s friend Flaherty to further effectuate the wrongful conduct;



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(xiv) violation of FINRA Rule 2165(b) by failing to place a hold on Mrs. Kane’s account despite

clear evidence of forged documents, the abrupt and significant modification of Mrs. Kane’s estate

planning, an unsuitable investment strategy based on Mrs. Kane’s investment profile and the lack

of a TOD registration form; (xv) violation of FINRA Rule 3110 in connection with their failure to

establish and comply with supervisory procedures, permitting the filing of multiple falsified

documents resulting in the theft of Plaintiff’s property; (xvi) violation of FINRA Rule 4511 in

connection with their intentional destruction of documents relating to Mrs. Kane’s Ameriprise

Account; and (xvii) facilitating the actions detailed above.

       153.       The following actions of Flaherty, among others, are unfair and oppressive and

violate the public policy against unfair and deceptive business practices: (i) conspiring with

Bernadette and/or Salerno to deceive Mrs. Kane in connection with the designation of Bernadette

as the sole beneficiary of the 2017 Invalid Will; (ii) making intentional misrepresentations to the

Probate Court in regards to the 2017 Invalid Will, the beneficiary designations of the IRA Account,

and the assets remaining in Mrs. Kane’s estate at the time of her death; (iii) violation of Rule 1.6

of the Rules of Professional Conduct (“RPC”) in connection with the release to the Ameriprise

Defendants of information relating to Flaherty’s representation of Mrs. Kane without her informed

consent; (iv) violation of Rule 1.14 of the RPC by failing to consult with individuals or entities

that have the ability to take action to protect Mrs. Kane despite the clear evidence that Mrs. Kane

was likely to suffer financial harm or otherwise by the fraudulent conduct of the Ameriprise

Defendants and Bernadette; (v) violation of Rule 3.3. of the RPC by his intentional

misrepresentations to the Probate Court in regards to the 2017 Invalid Will, the beneficiary

designations of the IRA Account, and the assets remaining in Mrs. Kane’s estate at the time of her



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death; (vi) violation of Rule 4.1 of the RPC by his intentional misrepresentations to the Probate

Court in regards to the 2017 Invalid Will, the beneficiary designations of the IRA Account, and

the assets remaining in Mrs. Kane’s estate at the time of her death; and (vii) violation of Rule 8.4

of the RPC by engaging in conduct involving dishonesty, fraud, deceit or misrepresentation,

including without limitation conspiring with Bernadette and/or Salerno to deceive Mrs. Kane in

connection with the designation of Bernadette as the sole beneficiary of the 2017 Invalid Will.

       154.          The Defendants’ aforementioned conduct was undertaken in the course of their

trade or business.

       155.          The Defendants’ aforementioned conduct therefore constitutes unfair or

deceptive practices within the meaning of Connecticut General Statute § 42-110(b), in that said

conduct violates or offends public policy, is immoral, unethical or unscrupulous, and/or is

substantially injurious to consumers, competitors or other businesspersons.

       156.          The Defendants’ aforementioned conduct caused substantial monetary injury to

Ms. Maguire, that she could not reasonably avoid, and is not outweighed by any countervailing

benefit to consumers, competitors or other businesspersons.

       157.          As a direct and proximate result of the Defendants’ violations of CUTPA, Ms.

Maguire has suffered an ascertainable loss of money.

       158.          The Plaintiff respectfully requests that, due to Defendants’ deceptive,

intentional, wanton and malicious acts, punitive damages of no less than $887,426.76 be awarded

to Plaintiff pursuant to CGS 42-110g(d).

       159.          The Plaintiff also respectfully requests that, due to Defendants’ deceptive,

intentional, wanton and malicious acts, Plaintiff’s costs and reasonable attorneys’ fees be awarded



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DOCKET NO.:
PATRICIA KANE MAGUIRE,                                )
                                                      )
                                   Plaintiff,         )   SUPERIOR COURT
                                                      )
        vs.                                           )   JUDICIAL DISTRICT OF
                                                      )
AMERIPRISE FINANCIAL SERVICES, LLC,                   )   STAMFORD/NORWALK
AMPF HOLDING, LLC,                                    )
ANTHONY JOSEPH SALERNO, AND                           )   AT STAMFORD
JAMES J. FLAHERTY JR.                                 )
                                                      )   DECEMBER 27, 2021
                                   Defendants.        )
                                                      )

                           STATEMENT OF AMOUNT IN DEMAND

       The amount in demand in this action is more than Fifteen Thousand Dollars ($15,000)

exclusive of interest and costs.



                                                          By; /s/ Joseph M. Pastore III
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                                                          Paul Fenaroli
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